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     Entered on Docket
 5   July 19, 2019            UNITED STATES BANKRUPTCY COURT
___________________________________________________________________
 6                                       DISTRICT OF NEVADA
 7                                               ******
 8   In re:                                )               Case No. BK-14-50333-gs
                                           )               Case No. BK-14-50331-gs
 9   ANTHONY THOMAS and                    )
                                           )               (Jointly Administered)
10   WENDI THOMAS,                         )
                                           )               Chapter 7
11   AT EMERALD, LLC,                      )
                                           )               Hearing
12                           Debtors.      )               DATE: June 19, 2019
     ______________________________________)               TIME: 1:00 p.m.
13
                    ORDER GRANTING EX PARTE REQUEST FOR HEARING
14                             ON SHORTENED NOTICE
15            On June 4, 2019, the court held a status conference regarding the chapter 7 trustee’s
16   (Trustee) motion to sell certain personal property of the debtors, namely the emerald referred to
17   as the Thomas Emerald (ECF No. 430) (Sale Motion). For the reasons stated on the record at
18   that hearing, the court scheduled a final evidentiary hearing regarding the Sale Motion for July
19   19, 2019 at 1:00 p.m. The court also requested that counsel for the chapter 7 trustee prepare an
20   order establishing the bid procedures applicable for the auction, which order was entered on
21   July 12, 2019 (ECF No. 510).
22            On July 8, 2019, debtor Anthony Thomas (Thomas) filed two motions, among other
23   documents. The first is his Notice of Motion and Motion for Judicial Notice of Law & Facts
24   ISO Rule 60(b)(4) Motion to Vacate Void 8-22-2014 Conversion Order (ECF No. 508)
25   (Judicial Notice Motion). The hearing on the Judicial Notice Motion was set at Mr. Thomas’s
26   request for September 13, 2019. The second motion recently filed by Mr. Thomas is captioned,
27   Notice of Rule 60(b)(4) Motion & Motion to Vacate Order Void on Its Face in Violation of
28   U.S. Constitutional Due Process Rights; Request for Stay (ECF No. 509) (Rule 60(b) Motion,
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     and together with the Judicial Notice Motion, the Motions). Mr. Thomas requested that this
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     motion be set to be heard in October.
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            On July 12, 2019, this court entered its Order (1) Regarding Pending Motions and
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     Debtor’s Request for Stay of Proceedigns, and (2) Overruling Debtor’s Objections to the
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     Trustee’s Bid Procedures Order (ECF No. 512) (Order). Pursuant to that Order, among other
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     things, the court noted that although Mr. Thomas requested a stay of all proceedings in the
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     Motions, because that request was combined with other requests for relief which were
 7
     scheduled for hearing in September, there was no request currently before the court to stay the
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     July 19, 2019 evidentiary hearing on the Sale Motion, or any other proceeding in this case.
 9
            On July 18, 2019 at 4:02 p.m., Mr. Thomas filed the Ex Parte Application for an Order
10
     Shortening Time and Motion for Stay - Expedited Emergency Hearing (ECF 517)(Motion for
11
     OST). Mr. Thomas seeks a 45 day continunace of the evidentiary hearing on the Sale Motion
12
     set for today, July 19, 2019. The court has reviewed the Motion for OST. Given the impending
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     continued evidentiary hearing set for later today,
14
            IT IS HEREBY ORDERED that the court will hold a hearing on Mr. Thomas’s Ex
15
     Parte Application for an Order Shortening Time and Motion for Stay - Expedited Emergency
16
     Hearing (ECF 517) for the purposes of determining (1) whether time should be shortened to
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     consider the requested continuance, and (2) if apporpriate to consider the request for a stay of
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     the July 19, 2019 evidentiary hearing on the Sale Motion at the hearing currently scheduled for
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     July 19, 2019 at 1:00 p.m. in the Clifton Young Federal Building, 300 Booth Street,
20
     Bankruptcy Courtroom, Fifth Floor, Reno, Nevada, before Bankruptcy Judge Gary Spraker.
21
            IT IS FURTHER ORDERED that oppositions to both the request to shorten time and
22
     the request for stay of proceedings may be made orally at the hearing.
23
            IT IS SO ORDERED.
24
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25
     Copies sent to all parties via CM/ECF ELECTRONIC NOTICE and via U.S. Mail to:
26
     ANTHONY THOMAS
27   7725 PEAVINE PEAK COURT
     RENO, NV 89523
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